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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 DAVID GECHT,                                    )
                                                 )
             Plaintiff,                          )         No. 1:23-cv-01742
                                                 )
             v.                                  )         Hon. Nancy L. Maldonado,
                                                 )         District Judge
 REYNALDO GUEVARA, GERI LYNN                     )
 YANOW, as special representative of the         )
 ESTATE OF ERNEST HALVORSEN,                     )
 ALAN PERGANDE, MICHAEL                          )
 MUZUPAPPA, ROBERT RUTHERFORD,                   )
 EDWIN DICKINSON, KEVIN ROGERS, as               )
 special representative of the ESTATE OF         )
 FRANCIS CAPPITELLI, the CITY OF                 )
 CHICAGO, BRENDAN MAGUIRE,                       )
 MICHAEL HOOD, and COOK COUNTY,                  )
                                                 )         JURY TRIAL DEMANDED
             Defendants.                         )

                             FIRST AMENDED COMPLAINT

       NOW COMES Plaintiff, DAVID GECHT, by his attorneys LOEVY & LOEVY, and

complaining of Defendants REYNALDO GUEVARA, GERI LYNN YANOW, as special

representative of the ESTATE OF ERNEST HALVORSEN, ALAN PERGANDE, MICHAEL

MUZUPAPPA, ROBERT RUTHERFORD, EDWIN DICKINSON, KEVIN ROGERS, as

special representative of the ESTATE OF FRANCIS CAPPITELLI, the CITY OF CHICAGO,

BRENDAN MAGUIRE, MICHAEL HOOD, and COOK COUNTY, states as follows:

                                     INTRODUCTION

       1.     Plaintiff David Gecht was a canary in a coalmine. At his criminal trial in March

2000—long before notorious Chicago Police Detective Reynaldo Guevara’s pattern of

investigative misconduct was publicly known and widely acknowledged by Illinois courts—

Gecht cried out about Defendant Guevara’s misconduct.
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       2.      Just 19 years old at the time, Gecht took the stand in his own defense and testified

not only about his absolute innocence of the 1999 shooting death of Roberto Cruz, but also about

the physical and psychological abuse Defendants inflicted to force him into a false confession.

       3.      Because of the ample evidence Defendants fabricated and suppressed in order to

frame Plaintiff for the Cruz murder, and because Defendants successfully hid the pattern of

misconduct of Guevara and the other Defendants, Plaintiff’s cries were ignored.

       4.      Plaintiff was wrongfully convicted of killing Roberto Cruz.

       5.      He spent 23 years in prison for a crime he did not commit.

       6.      Plaintiff had nothing to do with the murder.

       7.      There was no physical evidence connecting Plaintiff to the Cruz shooting.

       8.      Instead, Plaintiff’s arrest, prosecution, and conviction were based entirely on false

evidence knowingly manufactured by Defendants, who also concealed evidence of Plaintiff’s

innocence in order to ensure his conviction.

       9.      In fact, the misconduct resulting in Plaintiff’s wrongful conviction was part of a

now well-known pattern of illegal activity perpetrated by Defendants Guevara, Halvorsen and

the other Defendants.

       10.     Plaintiff is one of at least 39 men and women who have had convictions on

murder charges vacated after being framed in corrupt homicide investigations conducted by

Defendant Guevara and his fellow Area Five detectives and supervisors.

       11.     The Illinois Appellate Court has called Defendant Guevara “a malignant blight on

the Chicago Police Department and the judicial system.”

       12.     Cook County courts have found that “Detective Guevara engaged in a pattern and

practice of intimidating, threatening, and influencing witnesses in prior homicide investigations,”



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and that Defendant Guevara had told “bald-faced lies” during court testimony and had

“eliminated any possibility of [] being considered a credible witness in any proceeding.”

       13.      In court proceedings, Defendants Guevara, Halvorsen, and their associates have

pleaded their Fifth Amendment right not to incriminate themselves in response to questions

about their misconduct as police officers. And in response to questions about whether he framed

David Gecht for the Cruz murder and subjected him to physical abuse and other forms of heinous

treatment in order to ensure his wrongful conviction, Defendant Guevara has repeatedly asserted

his Fifth Amendment right not to incriminate himself.

       14.      In May 2022, more than 23 years after Plaintiff’s waking nightmare began, his

cries were finally heard. Defendants’ misconduct in this case had finally come to light. Plaintiff

was exonerated. His conviction was vacated and all charges against him were dropped.

       15.      In March 2023, the Illinois courts granted Plaintiff a certificate of innocence

       16.      Plaintiff now seeks justice for the harm that the Defendants have caused and

redress for the loss of liberty and the terrible hardship that he has endured and continues to suffer

as a result of their misconduct.

                                   JURISDICTION AND VENUE

       17.      This action is brought pursuant to 42 U.S.C. § 1983 and Illinois law to redress the

Defendants’ tortious conduct and their deprivation of Plaintiff’s rights secured by the U.S.

Constitution.

       18.      This Court has jurisdiction of Plaintiff’s federal claims pursuant to 28 U.S.C. §

1331 and supplemental jurisdiction of his state-law claims pursuant to 28 U.S.C. § 1367.




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        19.     Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial

district. The events and omissions giving rise to Plaintiff’s claims occurred within this judicial

district, including the investigation, prosecution, and trial resulting in Plaintiff’s conviction.

                                              PARTIES

          20.   Plaintiff David Gecht grew up in Chicago, Illinois. He spent 23 years wrongfully

incarcerated for a murder that he did not commit.

          21.   At all times relevant to the events described in this complaint, Defendants

Reynaldo Guevara, Ernest Halvorsen, Alan Pergande, Michael Muzupappa, Robert Rutherford,

Edwin Dickinson, and other unknown law enforcement officers were Chicago Police officers,

acting under color of law and within the scope of their employment. These Defendants are

referred to collectively as the “Police Officer Defendants” throughout this complaint.

          22.   Geri Lynn Yanow, the special representative for the Estate of Ernest Halvorsen,

deceased, is named as a Defendant in her capacity as Special Representative for the Estate of

Ernest Halvorsen, as successor in interest and to defend this action on behalf of Defendant Ernest

Halvorsen.

          23.   At all times relevant to the events described in this complaint, Francis Cappitelli

and other unknown law enforcement officers supervised the Police Officer Defendants. These

Defendants participated in the misconduct alleged in this complaint and also facilitated,

condoned, approved, and turned a blind eye to the misconduct of the Defendants whom they

supervised.

          24.   Kevin Rogers, the special representative for the Estate of Francis Cappitelli,

deceased, is named as a Defendant in his capacity as Special Representative for the Estate of




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Francis Cappitelli, as successor in interest and to defend this action on behalf of Defendant

Francis Cappitelli.

           25.   At all relevant times, Defendants Brendan Maguire, Michael Hood, and unknown

state prosecutors were Assistant Cook County State’s Attorneys. Prior to the existence of

probable cause to believe Plaintiff had committed a crime, and while acting in his investigatory

capacity, these Defendants manufactured and fabricated coerced confessions and statements

from Plaintiff and other witnesses, and they worked to maliciously prosecute Plaintiff for the

Cruz murder. These Defendants are referred to collectively as the “Prosecutor Defendants”

throughout this complaint.

           26.   The City of Chicago is an Illinois municipal corporation that is or was the

employer of the above-named Police Officer Defendants. Each of the individual Defendants

named in this complaint acted during their investigation of the Roberto Cruz murder as agents or

employees of the City of Chicago. The City of Chicago is liable for all torts committed by the

Police Officer Defendants pursuant to the doctrine of respondeat superior. Additionally, the City

of Chicago is responsible for the policies and practices of the Chicago Police Department.

           27.   Defendant Cook County is a governmental entity within the State of Illinois,

which consists in part of its Cook County State’s Attorney’s Office and was at all relevant times

the employer of the Prosecutor Defendants. Defendant Cook County is a necessary party to this

lawsuit.

           28.   Each and every individual Defendant, known and unknown, acted under color of

law and within the scope of his or her employment at all times relevant to this lawsuit. Each of

the individual Defendants is sued in his or her individual capacity unless otherwise noted.




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                                                   FACTS

                                                 The Crime

          29.     On January 29, 1999, Roberto Cruz (“Cruz”) went to Bristol’s nightclub in

Chicago, Illinois.

          30.     Later that night, two men entered the nightclub and walked directly to a table

where Cruz and his friends were sitting. The men were both heavyset, looked angry, and had an

“aggressive” conversation with Cruz about money.

          31.     Less than an hour later, Cruz was found lying next to the driver side door of his

car. He had been shot five times.

          32.     When Chicago Police Detectives arrived on the scene, they spoke to the nightclub

bouncer, Wilfredo Rosa. Rosa told detectives that the two men he had seen arguing with Cruz at

the nightclub were either “Latin or Black,” one of the men was 6’1 and 350 pounds and had a

goatee; and the other was 5’7 and 250 pounds.

          33.     Plaintiff Gecht could not have been either of these two obvious suspects. Plaintiff

is White. At the time, Gecht was 18 years old, 5’5” and 140 pounds.

                     Detectives Receive a Tip Implicating Ruben H. and Benjamin D.

          34.     The day after the shooting, an anonymous caller informed Detectives that the men

responsible for Cruz’s murder were Ruben H. (“Ruben”) and Benjamin D. (“Benjamin”). 1

          35.     The caller provided accurate corroborating details: that Ruben and Benjamin were

bragging that they had shot Cruz because Cruz owed Benjamin $6,000. The tipster also correctly

stated that Cruz had been killed by his car shortly after leaving a bar in the area.




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    The names are abbreviated to protect the privacy of third parties.

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       36.     This information was shared with Detectives Guevara and Halvorsen, who pulled

rap sheets and Central Booking Reports for Benjamin and Ruben.

       37.     Benjamin matched the description Wilfredo Rosa gave: he was known by the

nickname “Fridge,” was 6’3 tall, weighed 215 pounds, and had a goatee. Guevara and Halvorsen

also called Cruz’s mother, who informed them that Cruz was enemies with Ruben and Benjamin.

       38.     Guevara and Halvorsen found that Benjamin and Ruben had been arrested and

charged of other felony crimes together. They were also suspected of committing an armed

robbery together that took place two weeks after the Cruz shooting, which was being

investigated by Defendant Pergande.

       39.     This was the only lead pointing to any possible suspects. Yet there is no

indication in the police file that any detective investigated Benjamin as a potential suspect, nor

questioned him or made any efforts to locate him.

       40.     Over the next few weeks, there were no documented efforts to question Benjamin

or Ruben, and the case was dormant.

   Defendant Guevara’s Unlawful Interrogations of Gecht Result in his False Confession

       41.     After five weeks with no progress, Defendants Guevara and Halvorsen picked up

the investigation. During a single night, Defendants suddenly extracted three confessions and

purportedly solved the case.

       42.     Police went to arrest Gecht at the home of his mother. Officers, including

Defendants Guevara, Halvorsen, Pergande, and Muzupappa, walked into the family home

without a warrant and without asking for permission. They placed Gecht in handcuffs, and in

their presence, he asked his mother to hire him an attorney.

       43.     After Gecht’s arrest, Defendants took him to the Area Five police station. He

denied any involvement in the crime. In fact, over the course of numerous interrogations by
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Defendants Guevara, Halvorsen and Pergande, over many hours, Gecht repeatedly denied having

any knowledge about the crime, or any involvement in the crime.

         44.   But the interrogations did not end there. Instead, Defendants subjected Gecht to

hours of brutal and torturous interrogations, intended to leave him feeling helpless, hopeless, and

to ultimately break his will.

         45.   Gecht was placed in a small interrogation room with nothing but a bench, where

he was handcuffed to a hook on the wall behind his back. Defendants took turns coming in and

out of the room, accusing him of involvement in the Cruz murder, and rejecting his repeated

denials.

         46.   Gecht’s interrogators refused to let him make any phone calls, eat, or sleep.

         47.   During the interrogations, Defendants Guevara and Pergande struck Gecht many

times.

         48.   For example, in one case Defendant Guevara showed Gecht a picture of Cruz;

Gecht did not know him. When Gecht responded that he had nothing to do with the crime,

Guevara smacked him.

         49.   When Gecht asked if he could make a phone call or call an attorney, Guevara

slapped him.

         50.   The Police Officer Defendants hit Gecht on multiple additional occasions. They

punched him in the stomach. They hit him in the face. The beatings left Gecht with a cut in his

mouth and a chipped tooth.

         51.   From the first interrogation to the last, Defendants Guevara, Halvorsen and

Pergande fed Gecht detailed facts about the crime, laying out their theory of how the crime

occurred.



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       52.     After the many hours of abuse, Defendants told Gecht that if he signed a

statement admitting his involvement in the crime, he could go home.

       53.     At that point, exhausted, hungry, beaten, and bloody, Gecht’s will was broken. In

the hope that the punishment would end and that he could go home to his family, he agreed to

give a statement saying whatever the Defendants wanted.

       54.     Gecht then gave a statement to Defendant Maguire, one of the Prosecutor

Defendants, in which Gecht falsely confessed to shooting Cruz. In his false confession, he

committed the crime with Richard Kwil and Ruben assisting him. Gecht’s statement simply

parroted the facts he had been fed by Defendants during his interrogations.

       55.     Gecht was just 18 years old at the time, and throughout his life attended special

schools because he suffered from a learning disability and emotional disorder. Those limitations

were obvious to Defendants.

       56.     After Gecht signed the false confession and was charged with the murder, he was

finally allowed to talk to his family. He immediately informed them, including his sister Jamie

and a childhood friend, that his confession was false, and that he agreed to sign it as a result of

Defendants’ physical abuse and other coercive tactics.

       57.     Defendant Maguire, one of the Prosecutor Defendants, participated personally in

fabricating the false incriminating statement that Plaintiff was forced to sign.

       58.     Plaintiff's statement coerced by violence and psychological coercion, and

manufactured by Defendants, was used to prosecute and convict Plaintiff of a crime he did not

commit.




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             Defendants Coerce Ruben and Richard Kwil Into Implicating Gecht

       59.       Defendants also obtained false confessions from Richard Kwil and Ruben, in

which they implicated themselves as the getaway drivers and lookouts, and falsely implicated

Gecht as the shooter.

       60.       The false confessions of Kwil and Ruben were both secured through the use of

coercive tactics, including psychological abuse, false promises and threats.

       61.       Like Gecht, when Kwil was questioned about the Cruz murder, he denied any

involvement and any knowledge. His denials were ignored, and instead the Police Officer

Defendants subjected him to repeated interrogations in which they repeatedly accused him of

committing the crime, threatened him that if he did not give a statement against Gecht that he

would never see his daughter again, and promised him that if he signed a statement against Gecht

he could go home.

       62.       Like Gecht, they fed Kwil the facts of the crime, laying out the story they wanted

him to repeat.

       63.       Based on the threats, promises and other coercion, Kwil’s will was eventually

overborne. He agreed to give a statement similar to the one extracted from Gecht. He repeated

the facts that had been fed to him by the Defendants.

       64.       The same thing happened with Ruben. When the Police Officer Defendants

initially interrogated him, he did not implicate Gecht in the crime in any way.

       65.       The Police Officer Defendants then subjected Ruben to physical and

psychological abuse, and they fed him facts about the crime, in order to get him to falsely

implicate Gecht.

       66.       His will overborne, Ruben then gave a court-reported including false statements

implicating Gecht.
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         67.      However, Ruben refused to sign the court reported statement, because it was

false.

         68.      Defendants Hood and Maguire, both Prosecutor Defendants, participated

personally in fabricating the false incriminating statements of Kwil and Ruben, respectively.

         69.      Kwil and Ruben’s statements, the product of physical and psychological violence,

and manufactured by Defendants, were used to prosecute and convict Plaintiff of a crime he did

not commit.

         70.      Defendants suppressed at all times the abusive techniques they had used to obtain

these statements. In addition, they suppressed that they had fabricated these witnesses’

statements.

               Colleen Miller Implicates Gecht After Being Threatened by Defendants

         71.      Defendants Guevara and Halvorsen arrested and interrogated Gecht’s girlfriend,

Colleen Miller, who was pregnant with their child. According to police reports, within twenty

minutes of being picked up by Defendants, Miller admitted to them that her boyfriend Gecht had

confessed to her about the murder.

         72.      Miller’s testimony that Gecht confessed to her was false.

         73.      Miller has stated on several occasions that Gecht had never confessed to her about

the crime and that she knew nothing about it, and that she only agreed to sign a statement falsely

claiming that he confessed because of police threats.

         74.      Defendants told Miller that they were going to charge her as an accessory to the

murder and that her baby would be born in jail and taken away from her if she did not cooperate

and say what they wanted.




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       75.     Based on Defendants’ pressure and threats, and their refusal to accept her

statement that she knew nothing about the crime, Miller’s will was overborne and she agreed to

sign a false statement that Gecht had confessed to her.

       76.     Defendant Maguire, a Prosecutor Defendant, participated personally in fabricating

a false incriminating statement from Miller.

       77.     Miller’s statement, the product of physical and psychological violence, and

manufactured by Defendants, was used to prosecute and convict Plaintiff of a crime he did not

commit.

                     Plaintiff’s Wrongful Conviction and Imprisonment

       78.     As a result of Defendant’s misconduct, Plaintiff was tried in the Circuit Court of

Cook County.

       79.     Plaintiff’s criminal trial began in March 2000.

       80.     There was no physical evidence of any kind linking Plaintiff to the crime.

       81.     The case against Gecht was based primarily on Plaintiff’s false and fabricated

confession. The false confession Defendants obtained from Gecht was published to the jury.

       82.     Miller gave testimony at the trial falsely stating that Gecht had confessed to her.

       83.     At his criminal trial, Gecht took the stand, maintaining his absolute innocence and

testifying to Detective Guevara’s psychological and physical abuse.

       84.     Without the false statements and confessions extracted by the Defendants,

Plaintiff would have never been convicted.

       85.     A judge found Plaintiff guilty of first-degree murder. He was sentenced to 45

years in prison.

       86.     Plaintiff was just 18 years old at the time of his arrest. The following decades of

his life were consumed by the horror of wrongful imprisonment.
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          87.    Because of the Defendant’s misconduct, Plaintiff’s opportunity to grow older with

his family and make a life with them was taken away. Plaintiff’s relationships with his partner,

and the rest of his family, were severely harmed.

          88.    Plaintiff was stripped of his young adulthood and deprived of opportunities to

gain an education, to engage in meaningful labor, to develop skills and a career, and to pursue his

interests and passions.

          89.    Plaintiff has been deprived of all the basic pleasures of human experience, which

all free people enjoy as a matter of right, including the freedom to live one’s life as an

autonomous human being.

          90.    Plaintiff never knew whether the truth would come out or whether he would ever

be exonerated.

          91.    Plaintiff spent decades in prison before being released. In addition to the severe

trauma of wrongful imprisonment and Plaintiff’s loss of liberty, the Defendants’ misconduct

continues to cause Plaintiff extreme physical and psychological pain and suffering, humiliation,

constant fear, anxiety, deep depression, rage, and other physical and psychological effects.

          92.    Plaintiff was branded a murderer. He has suffered profound reputational harm as a

result.

                                       Plaintiff’s Exoneration

          93.    In October 2020, Plaintiff filed a Post-Conviction Petition for Relief from

Judgment.

          94.    In June 2022, Judge Kenworthy of the Cook County Circuit Court vacated

Plaintiff’s conviction.

          95.    The State entered a motion of nolle prosequi and dismissed all charges against

Plaintiff.
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        96.     At the time of his exoneration, Plaintiff had been fighting the false charges against

him for more than half of his life.

                     Chicago’s Policy and Practice of Wrongly Convicting
                      Innocent Persons in Violation of the Constitution

        97.     The City of Chicago and the Chicago Police Department are responsible, by

virtue of their official policies, for inflicting miscarriages of justice in scores of criminal cases

like the one endured by Plaintiff.

        98.     Since the 1980s, no fewer than 100 cases have come to light in which Chicago

police officers fabricated false evidence and/or suppressed exculpatory evidence in order to

cause the convictions of innocent persons for serious crimes they did not commit.

        99.     These cases include many in which Chicago police officers used the same tactics

that Defendants employed against Plaintiff in this case, including but not limited to fabricating

evidence, concealing exculpatory evidence, coercing confessions and statements through

physical and psychological abuse, manipulating witnesses in order to influence eyewitness

identifications and testimony, and using other tactics to secure the arrest, prosecution, and

conviction of a person without probable cause and without regard for the person’s actual guilt or

innocence.

        100.    At all relevant times, members of the Chicago Police Department, including the

Defendants in this action, routinely fabricated and manipulated identification procedures to

procure suspect identifications that they knew to be inaccurate.

        101.    At all relevant times, members of the Chicago Police Department, including the

Defendants in this action, systematically suppressed exculpatory and/or impeaching material by

intentionally secreting discoverable reports, memos, and other information. This concealed

material was kept in files that were maintained only at the Chicago Police Department and never

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disclosed to the participants of the criminal justice system. As a matter of widespread custom and

practice, these clandestine files were withheld from the State’s Attorney’s Office and from

criminal defendants, and they were routinely destroyed or hidden at the close of the investigation

rather than being preserved as part of the official file.

        102.    Consistent with the municipal policy and practice described in the preceding

paragraph, employees of the City of Chicago, including the named Defendants, concealed

exculpatory evidence from Plaintiff.

        103.    The existence of this policy and practice of suppressing exculpatory and/or

impeaching material in clandestine files was established and corroborated in the cases of, inter

alia, Rivera v. Guevara, No. 12 C 4428 (N.D. Ill.), Fields v. City of Chicago, No. 10 C 1168

(N.D. Ill.), and Jones v. City of Chicago, No. 87 C 2536 (N.D. Ill.).

        104.    The policies and practices of file suppression at issue in Fields applied throughout

the timeframe from the 1980s through the 2000s, including at the time of the investigation at

issue here.

        105.    In addition, a set of clandestine files related to Area Five homicides—the same

Detective Division involved in this case—was found in the case of Rivera v. Guevara, No. 12 C

4428 (N.D. Ill.). Those files, for a period in the 1980s and 1990s, contained exculpatory and

impeaching evidence not turned over to criminal defendants.

        106.    The policy and practice of suppressing exculpatory and/or impeaching material

evidence was alive and well at all relevant times, including at the Area Five Detective Division

during the investigation at issue here.

        107.    In addition, the City of Chicago and the Chicago Police Department routinely

used illegal tactics, including torture, physical coercion, and psychological coercion, to extract



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involuntary and false confessions and statements from suspects and witnesses. There are well

over 250 documented cases of Chicago Police officers using torture and coercion to illegally

obtain confessions in homicide cases. The City had notice of this widespread practice of

procuring false and coerced confessions long before the events at issue in this case.

       108.     Moreover, the City of Chicago and the Chicago Police Department routinely

failed to investigate cases in which Chicago police detectives recommended charging an

innocent person with a serious crime, and no Chicago police officer has ever been disciplined as

a result of his misconduct in any of those cases.

       109.     Prior to and during the period in which Plaintiff was falsely charged and

convicted, the City of Chicago also operated a dysfunctional disciplinary system for Chicago

police officers accused of serious misconduct. The City almost never imposed significant

discipline against police officers accused of violating the civil and constitutional rights of

members of the public. Further, the disciplinary apparatus had no mechanism for identifying

police officers who were repeatedly accused of engaging in misconduct.

       110.     For instance, multiple witnesses have come forward with evidence that Defendant

Guevara was part of Miedzianowski's criminal enterprise. Defendant Guevara and

Miedzianowski worked together in gang crimes before Defendant Guevara became homicide

detective. Defendant Guevara used his status as a detective to advance the criminal drug

enterprise he participated in with Miedzianowski, and to pressure drug dealers that did not do

their bidding. Guevara's assistance included working with Miedzanowski to pin murders on

innocent men.

       111.     In the case of Klipfel v. Bentsen, No. 94 C 6415 (N.D. Ill), a federal jury in

Chicago returned a Monell verdict against the City, finding that the City was responsible for



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maintaining a code of silence and a deeply flawed disciplinary system that allowed Chicago

police officers (operating out of the very same police facilities as the Defendant Officers in this

case) to operate a far-reaching, long-running criminal enterprise that included the subversion of

homicide investigations.

        112.    The Klipfel plaintiffs were two former federal agents from the Bureau of Alcohol,

Tobacco and Firearms who brought allegations of rampant criminal misconduct among Gang

Crimes officers to the attention of CPD officials. The evidence in that litigation included: Philip

Cline, an Area Commander and future Chief of Detectives and Superintendent, personally filed

two Internal Affairs complaints against Miedzianowski for tampering in homicide investigations,

that resulted in no discipline whatsoever; and that Raymond Risley, an assistant deputy

superintendent and head of Internal Affairs, not only knew about misconduct in homicide cases

but actively participated in efforts to subvert the disciplinary investigation into Miedzianowski

that was at the heart of the Klipfel litigation.

        113.    As a matter of both policy and practice, municipal policy makers and department

supervisors condoned and facilitated a code of silence within the Chicago Police Department,

which has been acknowledged by leaders of the Chicago Police Department and elected officials

in Chicago. In accordance with the code of silence, officers refused to report and otherwise lied

about misconduct committed by their colleagues, including the misconduct at issue in this case.

        114.    As a result of the City of Chicago’s established practices, officers (including the

Defendants here) have come to believe that they may violate the civil rights of members of the

public and cause innocent persons to be charged with serious crimes without fear of adverse

circumstances. The practices that enable this belief include failing to track and identify police

officers who are repeatedly accused of serious misconduct, failing to investigate cases in which



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the police are implicated in a wrongful charge or conviction, failing to discipline officers accused

of serious misconduct, and facilitating a code of silence within the Chicago Police Department.

As a result of these policies and practices of the City of Chicago, members of the Chicago Police

Department act with impunity when they violate the constitutional and civil rights of citizens.

       115.    This belief extends to the Defendants in this case. By way of example, Defendant

Guevara has a long history of engaging in the kind of investigative misconduct that occurred in

this case. There are dozens of known cases in which Guevara and other Chicago police officers

engaged in serious investigative misconduct similar to that described above. They engaged in

such misconduct because they had no reason to fear that the City of Chicago and its Police

Department would ever discipline them for doing so.

       116.    The City of Chicago and its Police Department also failed in the years prior to the

Plaintiff’s wrongful conviction to provide adequate training to Chicago police detectives and

other officers in many areas, including the following:

       117.    The conduct of live lineup, photographic, and other identification procedures.

       118.    The constitutional requirement to disclose exculpatory evidence, including how to

identify such evidence and what steps to take when exculpatory evidence has been identified in

order to ensure that the evidence is made part of the criminal proceeding.

       119.    The need to refrain from physical and psychological abuse, and manipulative and

coercive conduct, in relation to suspects and witnesses.

       120.    The risks of wrongful conviction and the steps police officers should take to

minimize risks.

       121.    The risks of engaging in tunnel vision during investigation.




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       122.    The need for full disclosure, candor, and openness on the part of all officers who

participate in the police disciplinary process, both as witnesses and as accused officers, and the

need to report misconduct committed by fellow officers.

       123.    The need for police officers to be trained in these areas was and remains obvious.

The City’s failure to train Chicago police officers as alleged in the preceding paragraph caused

Plaintiff’s wrongful conviction and his injuries.

       124.    The City’s failure to train, supervise, and discipline its officers, including the

Police Officer Defendants, condones, ratifies, and sanctions the kind of misconduct that the

Defendants committed against Plaintiff in this case. Constitutional violations such as those that

occurred in this case are encouraged and facilitated as a result of the City’s practices and de facto

policies, as alleged above.

       125.    The City of Chicago and final policymaking officials within the Chicago Police

Department failed to act to remedy the patterns of abuse described in the preceding paragraphs,

despite actual knowledge of the pattern of misconduct. They thereby perpetuated the unlawful

practices and ensured that no action would be taken (independent of the judicial process) to

remedy Plaintiff’s ongoing injuries.

       126.    The policies and practices described in the foregoing paragraphs were also

approved by the City of Chicago policymakers, who were deliberately indifferent to the

violations of constitutional rights described herein.

                Defendant Guevara’s History of Framing Innocent Persons

       127.    As a result of the policies and practices of the Chicago Police Department,

described above, Defendant Guevara has framed dozens of other innocent men and women over




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the span of two decades. Like Plaintiff, these men and women have lodged independent

accusations of similar misconduct against Defendant Guevara.

       128.    As of the filing of this complaint, 39 men and women have had their convictions

thrown out because of Defendant Guevara’s misconduct. They are Jacques Rivera, Juan Johnson,

Jose Montanez, Armando Serrano, Jorge Pacheco, Roberto Almodovar, William Negron, Jose

Maysonet, Angel Rodriguez, Santos Flores, Arturo DeLeon-Reyes, Gabriel Solache, Ariel

Gomez, Xavier Arcos, Ricardo Rodriguez, Robert Bouto, Thomas Sierra, Geraldo Iglesias,

Demetrius Johnson, David Gecht, Juan Hernandez, Rosendo Hernandez, Ray Munoz, David

Lugo, Carlos Andino, Daniel Rodriguez, Jaime Rios, Jose Cruz, Marilyn Mulero, Nelson

Gonzalez, Johnny Flores, Adolfo Rosario, Eruby Abrego, Jeremiah Cain, Edwin Davila, Alfredo

Gonzalez, Gamalier Rivera, Madeline Mendoza, and John Martinez. These men and women

served hundreds of years in prison for crimes they did not commit.

       129.    Defendant Guevara has a long history of engaging in precisely the kind of

investigative misconduct that occurred in this case, including obtaining false eyewitness

identifications through manipulated identification procedures, manipulating witnesses,

fabricating evidence, suppressing exculpatory evidence, and coercing false confessions and false

statements from suspects and witnesses using physical and psychological violence, all in the

course of maliciously prosecuting innocent persons. In addition to the cases in which individuals

have been exonerated, there are dozens of other identified cases in which Defendant Guevara

engaged in serious investigative misconduct.

       130.    Given this extensive history of misconduct and the City of Chicago’s failure to

meaningfully supervise or discipline Guevara and others, it is apparent that Guevara engaged in




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such misconduct because he had every reason to believe that the City of Chicago and its Police

Department condoned his behavior.

       131.    Repeatedly, Defendant Guevara has invoked his Fifth Amendment right to not

answer questions about allegations against him because truthful responses could subject him to

criminal liability. The allegations Defendant Guevara has refused to respond to include

allegations that he has manipulated dozens of witnesses to provide false identifications, he has

fabricated false evidence, he has suppressed exculpatory evidence, including documentary

evidence, he has tortured and abused suspects and witnesses and has coerced false statements

from them, as well as every single instance of misconduct detailed below.

       132.    A few examples of Defendant Guevara’s misconduct include:

        a.     Bill Dorsch is a former Chicago police detective. While serving with the Chicago

               Police Department, Dorsch was assigned to investigate a murder. Several months

               after the murder occurred, Defendant Guevara brought to the police station two

               juveniles purporting to have witnessed a shooting and recorded the license place

               of the shooter. Based on the information provided, Detective Dorsch created a

               photo array for the juveniles in an attempt to identify the shooter. While the first

               juvenile was viewing the photo array, and before he identified any of the

               photographs, Defendant Guevara pointed to the suspect’s photo and told the

               juvenile “That’s him.” The juvenile then agreed with Guevara, identifying the

               flagged individual as the shooter. Following this, Dorsch directed Defendant

               Guevara to leave the room and had the other juvenile view the same photo array;

               this juvenile was unable to make any identification. Based on the first juvenile’s

               identification, the suspect was charged with murder. Subsequently, Dorsch spoke



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         to the two juveniles outside of Defendant Guevara’s presence. The juveniles

         admitted that they were paid to falsely claim that the suspect was the person

         responsible for the shooting. After prosecutors spoke to the two juveniles, the

         suspect was released.

    b.   Defendant Guevara’s activities have drawn the interest of federal law enforcement

         officers. In 2001, the FBI authored a special report detailing the criminal activity

         of Chicago police officer Joseph Miedzianowski and his associates, including

         Defendant Guevara. The report details that Defendant Guevara, while acting in

         his capacity as a police officer, would apprehend drug and gun dealers and then

         allow them to “buy their way of trouble.” According to the report, Guevara also

         took bribes to alter both positive and negative lineups of murder suspects. Finally,

         the report states that Guevara, using an attorney as a conduit, would receive cash

         in exchange for the ultimate dismissal of murder cases he investigated.

    c.   In 1989, Defendant Guevara coerced Samuel Perez into falsely identifying Juan

         Johnson as the person who killed Ricardo Fernandez. Defendant Guevara made

         Perez get inside his car, showed Perez a photo of Juan Johnson, and told Perez

         that he wanted Johnson to take the blame for the murder. Unsurprisingly, Perez

         went on to falsely identify Johnson as one of the murderers.

    d.   In 1989, Defendant Guevara also coerced Salvador Ortiz into making a false

         identification of Juan Johnson, which he later recanted.

    e.   Juan Johnson was exonerated and brought suit against Defendant Guevara. A

         federal jury found that Guevara framed Johnson for murder and awarded Johnson

         $21 million in damages.



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    f.   In 1988, Defendant Guevara caused 12-year-old Orlando Lopez to falsely identify

         Jacques Rivera as the person who shot Felix Valentin. As a result, Rivera was

         convicted of the Valentin murder. In 2011, Lopez testified at an evidentiary

         hearing that he knew Rivera was the “wrong guy” when he made the

         identification. As a result, Rivera received a new trial. Ultimately, the State’s

         Attorney dropped all charges and Rivera was granted a certificate of innocence.

    g.   Also during the Felix Valentin shooting investigation, Defendant Guevara falsely

         claimed that the victim, Valentin, identified Jacques Rivera as his shooter before

         he died. Defendant Guevara reported to have obtained this identification at a time

         when the victim was in a medically induced coma, unresponsive to any stimuli,

         and laying in a bed that was in constant motion to prevent his lungs from filling

         with fluid and killing him. Valentin could not possibly have provided the

         information that Defendant Guevara attributed to him.

    h.   After Jacques Rivera’s exoneration, he brought suit against Defendant Guevara. A

         federal jury found that Guevara had violated Rivera’s civil rights and awarded

         Rivera $17 million in damages, as well as $175,000 in punitive damages against

         Defendant Guevara, his partner Steve Gawrys, and his supervisor Ed Mingey.

    i.   In 1989, Defendant Guevara coerced Virgilio Muniz into making a false

         identification by repeatedly threatening Muniz, saying that if Muniz did not

         identify Manuel Rivera as the murderer, Muniz would “go down for the murder.”

    j.   In 1989, Defendant Guevara coerced Virgilio Calderon Muniz (unrelated to

         Virgilio Muniz, described in the above paragraph) into making a false




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         identification by telling him who to identify and making a veiled threat as to what

         would happen if he did not comply.

    k.   In 1991, Defendant Guevara coerced Wilfredo Rosario into making a false

         identification and giving false testimony before the grand jury. Guevara

         threatened that if Rosario did not identify Xavier Arcos as the murderer, Rosario

         would be “pinned” for the murder. Guevara fed Rosario details of the crime, such

         as the number of shots fired, the type of vehicle used in the crime, and the

         participants in the crime. Rosario recanted his identification of Arcos at trial.

         Though Arcos was still found guilty of murder by a jury, the appellate court

         overturned the conviction based on the lack of sufficient evidence.

    l.   In 1991, Defendant Guevara told Efrain and Julio Sanchez to pick David Colon

         out of a lineup. As a result, these men falsely accused Colon of committing a

         murder, but later came forward to recant and shed light on Defendant Guevara’s

         misconduct.

    m.   In 1993, Defendant Guevara coerced an identification from Carl Richmond with

         threats, saying that he could make Richmond’s life very uncomfortable if

         Richmond did not identify Robert Bouto as the murderer of one of Richmond’s

         friends. Richmond, who was familiar with Guevara’s tactics, believed that

         Guevara would honor this threat.

    n.   In 1995, Defendant Guevara arrested Edwin Davila and, in an attempt to coerce a

         confession, chained Davila to the wall of an interrogation room and told him that

         he was going to frame him for murder. After Davila maintained that he was

         uninvolved, Guevara forced Davila to participate in a lineup in which two



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         witnesses identified Davila as the perpetrator, despite that each of those witnesses

         previously told the police that they had not been able to see the shooter.

    o.   In 1995, Defendant Guevara coerced Evelyn Diaz into making a false

         identification and providing false testimony to the Grand Jury by threatening Diaz

         that, if she did not identify Luis Serrano as the shooter, her children would be

         taken away by the Department of Children and Family Services.

    p.   In 1995, Defendant Guevara told Luis Figueroa to falsely identify Angel Diaz as

         the perpetrator even though Figueroa did not see anything. Figueroa identified

         Diaz but recanted his identification at trial.

    q.   In 1995, Defendant Guevara coerced Gloria Ortiz Bordoy into making a false

         statement and testifying falsely against Santos Flores at trial. During Ortiz

         Bordoy’s six-to-eight hour interrogation, Guevara yelled in her face, threatened

         that her children would be taken by the Department of Children and Family

         Services, called her “the B word,” and “raised his hand,” saying that he “felt like

         smacking” her. Finally, without reading its contents, Ortiz Bordoy signed a

         statement that the detectives wrote out for her because she just wanted to “get out

         of there.”

    r.   In 1995, Defendant Guevara coerced Rodolfo Zaragoza, who was a victim and an

         eyewitness to a crime, into making a false identification and providing false

         testimony. Zaragoza was intimidated by Guevara and identified Ricardo

         Rodriguez as the offender because Guevara told him that Rodriguez was the

         shooter.




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    s.   In 1995, Defendant Guevara told Jose Melendez to falsely identify Thomas Sierra

         as the shooter of Noel Andujar, even though Melendez had not seen the shooter

         and told Defendant Guevara as much. In addition, Defendant Guevara wrote false

         reports saying that Jose Melendez and Alberto Rodriguez had identified a car as

         the one used in the Andujar shooting, when in fact both men had told Defendant

         Guevara that the car in question was not the one used in the shooting.

    t.   In 1996, Defendant Guevara coerced Maria Rivera into making a false

         identification by unzipping his pants and propositioning her. Rivera later told the

         prosecutor that she had falsely identified an individual in a lineup at Guevara’s

         direction. The prosecution abandoned murder charges against that individual.

    u.   In 1997, Defendant Guevara coerced Robert Ruiz into making a false

         identification. Guevara detained Ruiz repeatedly over the course of a ten-day

         period, locking him in an interrogation room without food, water, or a bathroom.

         Though Ruiz kept telling Guevara that he had not seen the shooter or the driver

         involved in the crime, Guevara told Ruiz whom to identify and what to say in his

         statement. Ruiz finally implicated Freddy and Concepcion Santiago in the murder

         because Ruiz believed that Guevara would continue to harass him until he

         changed his story. Ruiz recanted his identification at trial, and the judge found

         Freddy and Concepcion Santiago not guilty. The trial judge found it disturbing

         that Guevara was the lead detective in the case because the victim was Guevara’s

         nephew.

    v.   In November 2001, Defendant Guevara’s girlfriend, Judith Martinez, attended a

         trial in which Guevara was testifying and observed the testimony of trial



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         witnesses. She then conferred with Guevara, even though the Court had ordered

         for all witnesses to be excluded from the courtroom to prevent witness collusion.

    w.   In 2011, the First District Appellate Court granted Tony Gonzalez a post-

         conviction hearing based on evidence that Defendant Guevara conducted an

         unduly suggestive lineup. In this instance, Guevara had concocted a photo array in

         which Gonzalez’s photo was the only one that stood out from the rest.

    x.   In 1982, Defendant Guevara and another officer arrested and physically assaulted

         Annie Turner for smoking on a bus. Guevara called her a “bitch” and pushed her

         out of the back door of the bus. He twisted her arm, threatened to “snap” it, and

         handcuffed her so tightly that her skin broke. He also hit her across the face with a

         metal bracelet he was wearing and called her a “nigger bitch.” Turner sought

         medical treatment and filed a complaint with the Chicago Police Department’s

         Office of Professional Standards (OPS).

    y.   In 1982, Defendant Guevara and three other officers broke through Almarie

         Lloyd’s locked front door and conducted a warrantless search of her home. When

         Lloyd asked who they were, she was told to shut up. The officers terrified Lloyd,

         her brother, and her two children, and left the home in shambles. Lloyd filed a

         complaint with OPS the next day.

    z.   In 1983, Defendant Guevara and other officers forcibly removed Leshurn Hunt

         from his home and handcuffed him to a ring in the wall at the police station where

         he was beaten about the head, face, and body until he confessed to murder and

         robbery charges. Hunt was detained for approximately 23 hours and deprived of

         food, water, and sleep until after he confessed. Hunt sought medical treatment for



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          his injuries and filed a complaint with the Office of Professional Standards.

          Witnesses who saw Hunt while in custody corroborated his claims that the Area

          Five police beat him. The criminal court judge suppressed Hunt’s confession, and

          a jury returned a favorable verdict in a related civil rights action against the City

          of Chicago on Hunt’s claim of excessive detention.

    aa.   In 1984, Defendant Guevara and other officers physically assaulted Graciela

          Flores and her 13-year old sister, Ana, during a search of their home. During the

          search, officers did not identify themselves as police. Guevara repeatedly slapped

          Graciela, called her a “bitch,” and pulled her hair. As a result of this incident,

          Graciela’s arm was put in a sling and she spent one week in the hospital.

    bb.   In 1985, Defendant Guevara attempted to coerce a false statement from Reynaldo

          Munoz. Guevara handcuffed Munoz and put him in the back of a squad car. When

          Munoz denied any knowledge of the incident Guevara was asking about, Guevara

          repeatedly hit him in the mouth with his fist. Guevara then took Munoz to rival

          gang territory where he allowed rival gang members to spit on Munoz and beat

          Munoz about the head.

    cc.   In 1986, Defendant Guevara threw Rafael Garcia against a car, struck him in the

          face several times, kicked him, and hit him in the head. Garcia filed a complaint

          with OPS. Although Guevara denied the charges, Garcia’s complaints were

          corroborated by physical evidence, as Garcia was treated at the hospital for

          lacerations to the head. After an investigation into the incident, OPS found that

          Guevara had lied about the incident and recommended that Guevara be suspended

          for two days.



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    dd.   In 1986, Defendant Guevara and two other officers coerced a confession from

          Daniel Pena by beating him about the face and ribs with their hands and about the

          groin and thighs with flashlights. Pena was taken to see a doctor where he

          complained about being beaten by the police. The doctor found bruising to Pena’s

          legs and abrasions and lacerations to Pena’s nose. Family members corroborated

          Pena’s claims that he had been beaten while in police custody.

    ee.   In 1986, Defendant Guevara pulled over Melvin Warren because Warren cut him

          off while driving westbound on Augusta Boulevard. Guevara called Warren a

          “nigger dog” and “threatened to tear [Warren’s] head off.” Guevara hit Warren in

          the face with a closed fist and then forced him down into the front seat of his car

          and began to choke him. Two eyewitnesses confirmed that Guevara initiated the

          beating. In response to this incident, Warren sought medical treatment and filed a

          complaint with OPS. OPS sustained Warren’s allegations that Guevara had

          physically and verbally assaulted him and recommended that Guevara be

          reprimanded.

    ff.   In 1989, Defendant Guevara coerced a false confession from Victor Vera by

          transporting him to rival gang territory and threatening to release him unless he

          confessed to the murder of Edwin Castaneda. Fearing for his life, Vera agreed to

          falsely confess to a crime that he had nothing to do with.

    gg.   In 1991, Defendant Guevara coerced David Rivera into signing a confession for

          murder by intimidation, threats, and inducements. Guevara told Rivera that if he

          confessed, he would serve seven years in prison; if he did not confess, he would




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          be sent away for fifty years. Guevara then promised Rivera that if signed a

          statement, he could go home.

    hh.   In 1992, Defendant Guevara engaged in misconduct when he interrogated

          Jacqueline Montanez without a youth officer present. The appellate court reversed

          and remanded Ms. Montanez’s conviction for murder, nothing that “not only was

          the defendant interrogated before having an opportunity to confer with a

          concerned adult, but, worse, any opportunity to do so was effectively frustrated by

          police.”

    ii.   In 1993, Defendant Guevara arrested 15-year-old Eliezar Cruzado and threatened

          him with life imprisonment if Cruzado did not make a statement implicating

          himself in a murder. Guevara also told Cruzado that he could go home and see his

          family again, but only if he agreed to make a statement. At the time, Cruzado had

          a limited ability to read and write.

    jj.   In 1993, Defendant Guevara used physical force and threats to coerce a false

          confession from Adolfo Frias-Munoz. Over the course of the two-day

          interrogation, Frias-Munoz was handcuffed to a ring on the wall of the

          interrogation room, hit in the face with an open hand by Defendant Guevara, and

          beaten by two other officers. Though isolated in a locked interrogation room,

          Frias-Munoz could hear his wife screaming and his son crying in another room.

          Guevara threatened Frias-Munoz that if he did not confess, his wife would go to

          prison and his children would be taken away. Frias-Munoz, who did not speak

          English, agreed to give a statement to an Assistant State’s Attorney. Frias-Munoz

          spoke in Spanish and Guevara translated the statement so that the prosecutor



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          could write the statement in English. Frias-Munoz then signed a statement that he

          could not read.

    kk.   In 1993, Defendant Guevara physically abused and threatened Francisco Vicente

          into providing false statements implicating Geraldo Iglesias in a murder. Vicente

          claimed that Iglesias spontaneously confessed to him that he was guilty of the

          crime for which Guevara had arrested him. Vicente has since testified that his

          statements were false and that Defendant Guevara and his colleagues beat him,

          threatened him, and fed him facts to ensure that he told their story.

    ll.   In 1994, Defendant Guevara, after 14 hours of interrogation, coerced a confession

          from Adrian Duta by hitting him in the face with an open palm, punching him in

          the stomach, and telling him he could go home if he signed a statement. When

          Duta’s father came to see Duta at the station house, Duta was exhausted and

          crying. Duta repeatedly said that he did not know what he had signed and had

          only signed the document so he could go home. Duta complained to his father of

          being struck in the head and stomach by Guevara.

    mm. In 1995, Defendants Guevara and Halvorsen coerced a confession from 17-year-

          old Santos Flores after handcuffing him to the wall of a locked interview room

          and refusing his requests for an attorney. During the course of the 11-hour

          interrogation, Guevara yelled at him, slapped him numerous times on the side of

          his head, and told him that, if he did not confess, he would never see the light of

          day. Flores eventually gave a statement to the police indicating his involvement in

          the crime. Flores’ statement was ruled inadmissible on appeal on the grounds that

          it was elicited in violation of Miranda.



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    nn.   In 1997, Defendant Guevara coerced a false confession from Voytek Dembski by

          beating him while he was chained to a wall in a locked interrogation room.

          Dembski, a Polish national who did not speak English, was interrogated by

          Guevara without Miranda warnings, without notification to the Polish consulate,

          and without a Polish language interpreter. Dembski could not read the statement

          he eventually signed as it was written in English.

    oo.   In 1997, Defendant Guevara used threats and physical force against Ariel Gomez,

          Paul Yalda, and several of their co-defendants to try to get them to sign false

          statements incriminating Gomez in the shooting of Concepcion Diaz. Guevara

          also used pressure and threats to try to force three eyewitnesses, Ruth Antonetty,

          Debbie Daniels and Maria Castro, to falsely identify Ariel Gomez as the shooter

          even after they informed Guevara that they could not identify him as the shooter.

    pp.   In 1998, Defendant Guevara repeatedly hit Rosauro Mejia in an attempt to coerce

          a confession from him. Mejia never confessed and was finally released after being

          held in custody for three days.

    qq.   In 1998, Defendant Guevara repeatedly pulled Adriana Mejia’s hair and struck

          her once on the back of her neck while she was interrogated. She asserts that

          Guevara never took an accurate statement from her, despite that she did have real

          knowledge of the crime he was questioning her about.

    rr.   In 1998, Defendant Guevara repeatedly threatened and beat Arturo DeLeon-Reyes

          in order to coerce DeLeon-Reyes into giving an incriminating statement. After

          two days of isolation and interrogation, DeLeon-Reyes provided a false statement

          implicating himself in a murder in which he was not involved.



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        ss.    In 1998, Defendant Guevara repeatedly struck Gabriel Solache on the left side of

               his head and in the stomach while Solache was chained to the wall of a locked

               interrogation room. After 40 hours of interrogation, Solache gave a false

               statement so that the beating would stop. Solache sought medical treatment and

               sustained permanent hearing loss to his left ear.

        tt.    In 1991, Defendant Guevara framed Demetrius Johnson for killing Edwin Fred.

               Guevara suppressed a lineup report documenting that a key eyewitness had

               identified a different person as the perpetrator in a lineup, and he fabricated a

               false police report to make it appear as if that identification had never occurred. In

               addition, to support his case against Johnson, Guevara manipulated and fabricated

               eyewitness identifications of Johnson as the shooter from witnesses Rosa Burgos,

               Ricardo Burgos, and Elba Burgos.

       133.    Defendant Guevara never received discipline from the City of Chicago or the

Chicago Police Department for any of the conduct set out above.

       134.    In fact, the City of Chicago failed to supervise or discipline its police officers,

including Defendants Guevara and the other Defendants. Defendants engaged in the misconduct

set forth in this complaint because they knew that the City of Chicago and its Police Department

tolerated and condoned such conduct.

                                           COUNT I
                                 42 U.S.C. § 1983 – Due Process
                                   (Fourteenth Amendment)

       135.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       136.    As described in detail above, the Police Officer Defendants, while acting

individually, jointly, and in conspiracy with one another, as well as under color of law and within



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the scope of their employment, deprived Plaintiff of his constitutional right to a fair trial and his

right not to be wrongfully convicted and imprisoned.

       137.    In the manner described more fully above, the Police Officer Defendants

fabricated witness statements falsely implicating Plaintiff in the crime.

       138.    The Police Officer Defendants knew this evidence was false.

       139.    The Police Officer Defendants obtained Plaintiff’s conviction using this false

evidence, and they failed to correct fabricated evidence that they knew to be false when it was

used against Plaintiff during his criminal case.

       140.    The Police Officer Defendants procured supposed eyewitness identifications of

Plaintiff, which they knew to be false and unreliable, using unduly suggestive procedures.

Despite this, Defendants caused these identifications to be used during Plaintiff’s criminal trial.

       141.    In addition, the Police Officer Defendants deliberately withheld exculpatory

evidence from state prosecutors, Plaintiff, and Plaintiff’s criminal defense attorneys, including

evidence that that Defendants had manufactured false identifications of Plaintiff, thereby

misleading and misdirecting the criminal prosecution of Plaintiff.

       142.    In addition, based upon information and belief, the Police Officer Defendants

concealed, fabricated, and destroyed additional evidence that is not yet known to Plaintiff.

       143.    The Defendants’ misconduct resulted in the unjust and wrongful criminal

prosecution and conviction of Plaintiff and the deprivation of Plaintiff’s liberty, thereby denying

his constitutional right to a fair trial guaranteed by the Fourteenth Amendment. Absent this

misconduct, the prosecution of Plaintiff could not have and would not have been pursued.

       144.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.



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       145.    As a result of the Police Officer Defendants’ misconduct described in this Count,

Plaintiff suffered loss of liberty, great mental anguish, humiliation, degradation, physical and

emotional pain and suffering, forced and involuntary prison labor, and other grievous and

continuing injuries and damages as set forth above.

       146.    The misconduct described in this Count was undertaken pursuant to the policies

and practices of the City of Chicago and the Chicago Police Department, in the manner more

fully described below in Count VI.

                                          COUNT II
                       42 U.S.C. § 1983 – Coerced and False Confession
                             (Fifth and Fourteenth Amendments)

       147.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       148.    In the manner described more fully above, the Police Officer Defendants and the

Prosecutor Defendants, acting as investigators and without probable cause to suspect Plaintiff of

any crime, individually, jointly, and in conspiracy with one another, and others unknown, as well

as under color of law and within the scope of their employment, forced Plaintiff to make false

statements involuntarily and against his will, which incriminated him and which were used

against him in criminal proceedings, in violation of his rights secured by the Fifth and Fourteenth

Amendments.

       149.    In addition, the Police Officer Defendants and the Prosecutor Defendants, acting

as investigators and without probable cause to suspect Plaintiff of any crime, individually,

jointly, and in conspiracy with one another, as well as under color of law and within the scope of

their employment, used physical violence and extreme psychological coercion in order to force

Plaintiff to incriminate himself falsely and against his will in a crime he had not committed, in

violation of his right to due process secured by the Fourteenth Amendment. This misconduct was



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so severe as to shock the conscience, it was designed to injure Plaintiff, and it was not supported

by any conceivable governmental interest.

       150.    In addition, these Defendants, acting as investigators and without probable cause

to suspect Plaintiff of any crime, individually, jointly, and in conspiracy with one another, as

well as under color of law and within the scope of their employment, fabricated a false

confession, which was attributed to Plaintiff and used against Plaintiff in his criminal

proceedings, in violation of Plaintiff’s right to a fair trial protected by the Fourteenth

Amendment.

       151.    Specifically, these Defendants conducted, participated in, encouraged, advised,

and ordered an unconstitutional interrogation of Plaintiff, using physical violence and

psychological coercion, which overbore Plaintiff’s will and resulting in him making involuntary

statements implicating himself in the murder of Roberto Cruz.

       152.    Those false incriminating statements were wholly fabricated by these Defendants

and attributed to Plaintiff. Those false incriminating statements were used against Plaintiff to his

detriment throughout his criminal case. They were the reason that Plaintiff was prosecuted and

convicted of the Cruz murder.

       153.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       154.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.




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       155.    The misconduct described in this Count by the Police Officer Defendants was

undertaken pursuant to the policy and practice of the Chicago Police Department, in the manner

more fully described below in Count VI.

                                        COUNT III
              42 U.S.C. § 1983 – Malicious Prosecution and Unlawful Detention
                           (Fourth and Fourteenth Amendments)

       156.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       157.    In the manner described above, the Police Officer Defendants and the Prosecutor

Defendants, acting as investigators, individually, jointly, and in conspiracy with one another, as

well as under color of law and within the scope of their employment, accused Plaintiff of

criminal activity and exerted influence to initiate, continue, and perpetuate judicial proceedings

against Plaintiff without any probable cause for doing so and in spite of the fact that they knew

Plaintiff was innocent, in violation of his rights secured by the Fourth and Fourteenth

Amendments.

       158.    In so doing, these Defendants maliciously prosecuted Plaintiff and caused

Plaintiff to be deprived of his liberty without probable cause and to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury.

       159.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       160.    As a result of Defendants’ misconduct described in this Count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.




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       161.    The misconduct of the Police Officer Defendants described in this Count was

undertaken pursuant to the policies and practices of the City of Chicago and the Chicago Police

Department, in the manner more fully described below in Count VI.

                                           COUNT IV
                             42 U.S.C. § 1983 – Failure to Intervene

       162.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       163.    In the manner described above, during the constitutional violations described

herein, one or more of the Police Officer Defendants and the Prosecutor Defendants stood by

without intervening to prevent the violation of Plaintiff’s constitutional rights, even though they

had the duty and the opportunity to do so.

       164.    These Defendants had ample, reasonable opportunities as well as the duty to

prevent this harm but failed to do so.

       165.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       166.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

       167.    The misconduct of the Police Officer Defendants described in this Count was

undertaken pursuant to the policies and practices of the City of Chicago and the Chicago Police

Department, in the manner more fully described below in Count VI.

                                         COUNT V
                42 U.S.C. § 1983 – Conspiracy to Violate Constitutional Rights

       168.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.




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        169.    In the manner described more fully above, the Police Officer Defendants, acting

in concert with other co-conspirators, known and unknown, reached an agreement among

themselves to fabricate evidence and to detain, prosecute, and convict Plaintiff for the Cruz

shooting, regardless of Plaintiff’s guilt or innocence, and thereby to deprive him of his

constitutional rights.

        170.    In so doing, these co-conspirators agreed to accomplish an unlawful purpose by

an unlawful means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.

        171.    In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

        172.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

        173.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

        174.    The misconduct described in this Count was undertaken pursuant to the policies

and practices of the City of Chicago and the Chicago Police Department, in the manner more

fully described below in Count VI.

                                        COUNT VI
          42 U.S.C. § 1983 – Policy and Practice Claim against the City of Chicago

        175.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        176.    As described in detail above, the City of Chicago is liable for the violation of

Plaintiff’s constitutional rights because Plaintiff’s injuries were caused by the policies, practices,




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and customs of the City of Chicago, as well as by the actions of policy-making officials for the

City of Chicago.

       177.    At all times relevant to the events described in this complaint and for a period of

time prior and subsequent thereto, the City of Chicago failed to promulgate proper or adequate

rules, regulations, policies, and procedures for: conducting photographic and live lineup

procedures by officers and agents of the Chicago Police Department and City of Chicago; the

conduct of interrogations and questioning of criminal suspects; the collection, documentation,

preservation, testing, and disclosure of evidence; the writing of police reports and taking of

investigative notes; obtaining statements and testimony from witnesses; and maintenance of

investigative files and disclosure of those files in criminal proceedings. In addition, or

alternatively, the City of Chicago failed to promulgate proper and adequate rules, regulations,

policies, and procedures for the training and supervision of officers and agents of the Chicago

Police Department and the City of Chicago, with respect to these subjects.

       178.    These failures to promulgate proper or adequate rules, regulations, policies, and

procedures were committed by officers and agents of the Chicago Police Department and the

City of Chicago, including the Defendants.

       179.    In addition, at all times relevant to the events described in this complaint and for a

period of time prior thereto, the City of Chicago had notice of a widespread practice and custom

by officers and agents of the Chicago Police Department and the City of Chicago under which

individuals suspected of criminal activity, such as Plaintiff, were routinely deprived of their right

to due process. For instance, it was common that suspects were prosecuted based on fabricated

evidence, including fabricated eyewitness identifications and eyewitness identifications obtained

using manipulated photographic or live lineup procedures.



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       180.    Specifically, at all relevant times and for a period of time prior thereto, there

existed a widespread practice and custom among officers, employees, and agents of the City of

Chicago, under which criminal suspects were which criminal suspects were coerced to

involuntarily implicate themselves by various means, including but not limited to one or more of

the following: (1) individuals were subjected to unreasonably long and uninterrupted

interrogations, often lasting for many hours and even days; (2) individuals were subjected to

actual and threatened physical or psychological violence; (3) individuals were interrogated at

length without proper protection of their constitutional right to remain silent; (4) individuals

were forced to sign or assent to oral and written statements fabricated by the police; (5) officers

and employees were permitted to lead or participate in interrogations without proper training and

without knowledge of the safeguards necessary to ensure that individuals were not subjected to

abusive conditions and did not confess involuntarily and/or falsely; and (6) supervisors with

knowledge of permissible and impermissible interrogation techniques did not properly supervise

or discipline police officers and employees such that the coercive interrogations continued

unchecked.

       181.    In addition, at all times relevant to the events described in this complaint and for a

period of time prior thereto, the City of Chicago had notice of widespread practices by officers

and agents of the Chicago Police Department and the City of Chicago, which included one or

more of the following: (1) officers did not record investigative information in police reports, did

not maintain proper investigative files, or did not disclose investigative materials to prosecutors

and criminal defendants; (2) officers falsified statements and testimony of witnesses; (3) officers

fabricated false evidence implicating criminal defendants in criminal conduct; (4) officers failed




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to maintain or preserve evidence or destroyed evidence; and (5) officers pursued wrongful

convictions through profoundly flawed investigations.

       182.    These widespread practices, individually and together, were allowed to flourish

because the leaders, supervisors, and policymakers of the City of Chicago directly encouraged

and were thereby the moving force behind the very type of misconduct at issue by failing to

adequately train, supervise, and control their officers, agents, and employees on proper

interrogation techniques and by failing to adequately punish and discipline prior instances of

similar misconduct, thus directly encouraging future abuses such as those affecting Plaintiff.

       183.    The above widespread practices and customs, so well settled as to constitute de

facto policies of the City of Chicago, were able to exist and thrive, individually and together,

because policymakers with authority over the same exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

       184.    As a result of the policies and practices of the City of Chicago, numerous

individuals have been wrongly convicted of crimes that they did not commit.

       185.    In addition, the misconduct described in this Count was undertaken pursuant to

the policies and practices of the City of Chicago in that the constitutional violations committed

against Plaintiff were committed with the knowledge or approval of persons with final

policymaking authority for the City of Chicago or were actually committed by persons with such

final policymaking authority.

       186.    Plaintiff’s injuries were directly and proximately caused by officers, agents, and

employees of the City of Chicago, including but not limited to the individually named

Defendants, who acted pursuant to one or more of the policies, practices, and customs set forth

above in engaging in the misconduct described in this Count.



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                                        COUNT VII
                           State Law Claim – Malicious Prosecution

       187.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       188.    In the manner described above, the Police Officer Defendants and the Prosecutor

Defendants, acting as investigators, individually, jointly, and in conspiracy with one another, as

well as within the scope of their employment, accused Plaintiff of criminal activity and exerted

influence to initiate and to continue and perpetuate judicial proceedings against Plaintiff without

any probable cause for doing so.

       189.    In so doing, these Defendants caused Plaintiff to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury.

       190.    The judicial proceedings were terminated in Plaintiff’s favor and in a manner

indicative of his innocence when his conviction was vacated and charges against him were

dropped in April 2022.

       191.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, and in total disregard of the truth and Plaintiff’s clear

innocence.

       192.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                       COUNT VIII
                State Law Claim – Intentional Infliction of Emotional Distress

       193.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.




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          194.   The actions, omissions, and conduct of the Police Officer Defendants and the

Prosecutor Defendants as set forth above were extreme and outrageous. These actions were

rooted in an abuse of power and authority and were undertaken with the intent to cause, or were

in reckless disregard of the probability that their conduct would cause, severe emotional distress

to Plaintiff, as is more fully alleged above.

          195.   As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                          COUNT IX
                         State Law Claim – Willful and Wanton Conduct

          196.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          197.   At all times relevant to this complaint the Police Officer Defendants and the

Prosecutor Defendants had a duty to refrain from willful and wanton conduct in connection with

the Cruz murder investigation.

          198.   Notwithstanding that duty, these Defendants acted willfully and wantonly through

a course of conduct that showed an utter indifference to, or conscious disregard of, Plaintiff’s

rights.

          199.   As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                           COUNT X
                                State Law Claim – Civil Conspiracy

          200.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.




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          201.   As described more fully in the preceding paragraphs, the Police Officer

Defendants, acting in concert with other co-conspirators, known and unknown, reached an

agreement among themselves to frame Plaintiff for a crime he did not commit and conspired by

concerted action to accomplish an unlawful purpose and/or to achieve a lawful purpose by

unlawful means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.

          202.   In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

          203.   The violations of Illinois law described in this complaint, including Defendants’

malicious prosecution of Plaintiff and their intentional infliction of emotional distress, were

accomplished by Defendants’ conspiracy.

          204.   The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

          205.   As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                           COUNT XI
                              State Law Claim – Respondeat Superior

          206.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          207.   While committing the misconduct alleged in the preceding paragraphs, the Police

Officer Defendants were employees, members, and agents of the City of Chicago, acting at all

relevant times within the scope of their employment.

          208.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.

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                                         COUNT XII
                               State Law Claim - Indemnification

        209.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        210.   Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        211.   The Police Officer Defendants were employees, members, and agents of

Defendant City of Chicago, acting at all relevant times within the scope of their employment in

committing the misconduct described herein.

        212.   Defendant City of Chicago is responsible to pay any judgment entered against the

Police Officer Defendants.

        213.   The Prosecutor Defendants were employees, members, and agents of Defendant

Cook County, acting at all relevant times within the scope of their employment in committing the

misconduct described herein.

        214.   Defendant Cook County is responsible to pay any judgment entered against the

Prosecutor Defendants.

        WHEREFORE, Plaintiff DAVID GECHT, respectfully requests that this Court enter a

judgment in his favor and against Defendants REYNALDO GUEVARA, GERI LYNN

YANOW, as special representative of the ESTATE OF ERNEST HALVORSEN, ALAN

PERGANDE, MICHAEL MUZUPAPPA, ROBERT RUTHERFORD, EDWIN DICKINSON,

KEVIN ROGERS, as special representative of the ESTATE OF FRANCIS CAPPITELLI, the

CITY OF CHICAGO, BRENDAN MAGUIRE, MICHAEL HOOD, and COOK COUNTY,

awarding compensatory damages, attorneys’ fees, and costs against each Defendant, punitive




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damages against each of the Individual Defendants, and any other relief that this Court deems

just and appropriate.

                                         JURY DEMAND

       Plaintiff, DAVID GECHT, hereby demands a trial by jury pursuant to Federal Rule of

Civil Procedure 38(b) on all issues so triable.

                                              DAVID GECHT

                                              BY: s/ Steve Art

                                              One of Plaintiff’s Attorneys

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                                              Anand Swaminathan
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